            Case 2:07-cr-00303-GEB Document 73 Filed 08/05/09 Page 1 of 2


     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)443-1165
     Email: Rusklaw@comcast.net
 4

 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                        ) Case No.: CR.S. 07-303 GEB
     United States of America,            )
 9                                        ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,                ) STATUS CONFERENCE
10                                        )
          vs.                             ) Court: Hon. Judge Garland E.
11                                        ) Burrell, Jr.
                                          ) Time:   9:00 a.m.
12   Rebeca Salsedo, et.al.               ) Date:   September 4, 2009
                                          )
13              Defendants
14

15

16        Defendant Rebeca Salsedo is charged in an indictment alleging
17   four counts of violations of 21 U.S.C. §§s 841(a)(1) & § 846 –
18   Distribution and Conspiracy to Distribute Cocaine; Possession of
19   Cocaine with Intent to Distribute; and Manufacture of Marijuana.         Ms.
20   Salsedo is charged in counts one and three. A status conference was
21   previously set for August 7, 2009.         The parties are involved in
22   defense investigation, as well as negotiations and all parties request
23   that the current status conference be continued to September 4, 2009,
24   and that date is available with the Court.
25        The parties agree that time should be excluded under 18 U.S.C. §
26   3161(h)(8)(i) for defense preparation and under local code T4.
27

28




                                          -1-
            Case 2:07-cr-00303-GEB Document 73 Filed 08/05/09 Page 2 of 2


     Dated: July 28, 2009        Respectfully submitted,
 1

 2

 3                                     __/s/ Shari Rusk___
                                       Shari Rusk
 4                                     Attorney for Defendant
                                       Rebeca Salsedo
 5

 6                                      /s/ Jason Hitt
                                       Jason Hitt
 7                                     Assistant United States Attorney
 8

 9

10
                                       ORDER
11

12
          IT IS SO ORDERED.   The Court finds excludable time through
13
     September 4, 2009, based on Local Code T4, giving counsel reasonable
14
     time to prepare.
15
     DATED: 8/3/09
16
                                       ______________________________________
17                                     Garland E. Burrell, Jr.
                                       United States District Court
18

19

20

21

22

23

24

25

26

27

28




                                         -2-
